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CAND Pay.gov Application for Refund (rev. /2025)


                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
                APPLICATION FOR REFUND (USDC-CAND PAY.GOV)
                                      PAY.GOV TRANSACTION DETAILS
IMPORTANT:
   Complete all required fields (shown in red*); otherwise, your request may be denied and require resubmission.
   The information for the required receipt fields can be found in the Pay.gov screen receipt or confirmation email.
 1. Your Name*:                                                                              9. Fee Type:*
 2. Your Email Address*:                                                                               Attorney Admission
 3. Receipt Agency Tracking ID for Refund*:                                                            Civil Case Filing
 4. Transaction Date for Refund*:                                                                      Audio Recording
                                                                                                       Notice of Appeal
 5. Transaction Amount to be Refunded*:
                                                                                                       Pro Hac Vice
 6. Receipt Agency Tracking ID for
    Correct Receipt Number on Docket*:                                                                 Writ of Habeas Corpus
 7. Your Phone Number:                                                                                 Other: _______________

 8. Full Case Number (if applicable):

 10. Reason for Refund Request*: Explain in detail what happened to cause duplicate charges, no fee required, etc.
           Duplicate Charge                        No Fee Required for Filing               Other




 If you paid a filing fee using an abandoned case number, note that case number here and e-file the refund request in the open case.

    Efile this form: OTHER FILINGS           OTHER DOCUMENTS             APPLICATION FOR REFUND.
View detailed instructions at: cand.uscourts.gov/ecf/payments.
Assistance: Contact the ECF Help Desk at 1-866-638-7829 or ecfhelpdesk@cand.uscourts.gov Monday - Friday 9:00 a.m.-4:00 p.m.

                                          FOR U.S. DISTRICT COURT USE ONLY
 Refund request:           Approved                Denied                   Resubmit amended application (see reason for denial)
 Approval/denial date:
 Pay.gov refund tracking ID refunded:
 Date refund processed:
 Request approved/denied by:
 Agency refund tracking ID number:
 Refund processed by:

 Reason for denial (if applicable):


 Referred for OSC date (if applicable):
